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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 ADJUSTACAM LLC
          Plaintiff

 v.                                                       Case No. 6:10-cv-329-LED

 AMAZON.COM, INC., et al.                                 JURY
          Defendants

            CERTIFICATE OF AUTHORIZATION CERTIFYING THAT
       DEFENDANTS FILED AN UNOPPOSED MOTION FOR LEAVE TO FILE
          THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT THAT
           ADJUSTACAM IS NOT ENTITLED TO PRE-SUIT DAMAGES
                PURSUANT TO 35 U.S.C. § 287(a) UNDER SEAL

       The undersigned hereby certifies that Defendants’ Unopposed Motion for Leave to File

 Their Motion for Partial Summary Judgment that AdjustaCam is not Entitled to Pre-Suit

 Damages Pursuant to 35 U.S.C. § 287(a) Under Seal was filed electronically (Dkt. #471) in

 compliance with Local Rule CV-5(a)(7).

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                                                 BEST BUY CO., INC.,
                                                 BEST BUY STORES, LP,
                                                 BESTBUY.COM, LLC; AND
                                                 TARGET CORPORATION
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